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                                       THE SECRETARY OF EDUCATION
                                            WASHINGTON, DC 20202




                                                May 5, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138

Dr. Garber,

The Federal Government has a sacred responsibility to be a wise and important steward of
American taxpayer dollars. Harvard University, despite amassing a largely tax-free $53.2 billion
dollar endowment (larger than the GDP of 100 countries), receives billions of dollars of taxpayer
largess each year. Receiving such taxpayer funds is a privilege, not a right. Yet instead of using
these funds to advance the education of its students, Harvard is engaging in a systemic pattern of
violating federal law. Where do many of these “students” come from, who are they, how do they
get into Harvard, or even into our country—and why is there so much HATE? These are
questions that must be answered, among many more, but the biggest question of all is, why will
Harvard not give straightforward answers to the American public?

Harvard University has made a mockery of this country’s higher education system. It has invited
foreign students, who engage in violent behavior and show contempt for the United States of
America, to its campus. In every way, Harvard has failed to abide by its legal obligations, its
ethical and fiduciary duties, its transparency responsibilities, and any semblance of academic
rigor. It had scrapped standardized testing requirements and a normalized grading system. This
year Harvard was forced to adopt an embarrassing “remedial math” program for undergraduates.
Why is it, we ask, that Harvard has to teach simple and basic mathematics, when it is supposedly
so hard to get into this “acclaimed university”? Who is getting in under such a low standard
when others, with fabulous grades and a great understanding of the highest levels of
mathematics, are being rejected?

Harvard has even been embroiled in humiliating plagiarism scandals, exposed clearly and plainly
in the media, with respect to your then University President, who was an embarrassment to our
Nation. Much of Harvard’s hateful discrimination was revealed, last year, by the great work of
Congresswoman Elise Stefanik, and her Committee. As if it were trying to embarrass itself even
further, Harvard hired failed Mayors Bill De Blasio and Lori Lightfoot, perhaps the worst
mayors ever to preside over major cities in our country’s history, to supposedly teach
“leadership” at their School of Public Health. This is like hiring the captain of the Titanic to
teach navigation to future captains of the sea.

This incomprehensible failure becomes more understandable after reviewing Harvard’s
management. The Harvard Corporation, which is supposed to competently and professionally
manage Harvard’s vast academic, financial, and physical resources, is run by strongly left-
leaning Obama political appointee Penny Pritzker, a Democrat operative, who is catastrophic and
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running the institution in a totally chaotic way. Harvard alumnus and highly successful hedge
fund manager Bill Ackman noted that, under her leadership, Harvard has become “a political
advocacy organization for one party.”

Ackman has called for the resignation of Pritzker, concluding that the “[t]he mismanagement
here is Penny Pritzker” and noting that any serious corporation would have removed her after a
litany of recent failings and the fact that, incredibly, “Harvard is not in a good financial
position.” According to Ackman, one of the world’s foremost finance experts, Harvard’s so-
called $53 billion endowment is “massively overstated as far as what it’s really worth,” and
Harvard has irresponsibly taken out $8 billion in debt.

If this is true, it is concerning evidence of Harvard’s disastrous mismanagement, indicating an
urgent need for massive reform—not continued taxpayer investment. If Harvard prefers not to
change, then Harvard should have no problem using its overflowing endowment to fund its
bloated bureaucracy.

At its best, a university should fulfill the highest ideals of our Nation, and enlighten the
thousands of hopeful students who walk through its magnificent gates. But Harvard has betrayed
this ideal.

Perhaps most alarmingly, Harvard has failed to abide by the United States Supreme Court’s
ruling demanding that it end its racial preferencing, and continues to engage in ugly racism in its
undergraduate and graduate schools, and even within the Harvard Law Review itself. Our
universities should be bastions of merit that reward and celebrate excellence and achievement.
They should not be incubators of discrimination that encourage resentment and instill grievance
and racism into our wonderful young Americans.

The above concerns are only a fraction of the long list of Harvard’s consistent violations of its
own legal duties. Given these and other concerning allegations, this letter is to inform you that
Harvard should no longer seek GRANTS from the federal government, since none will be
provided. Harvard will cease to be a publicly funded institution, and can instead operate as a
privately-funded institution, drawing on its colossal endowment, and raising money from its
large base of wealthy alumni. You have an approximately $53 Billion head start, much of which
was made possible by the fact that you are living within the walls of, and benefiting from, the
prosperity secured by the United States of America and its free-market system you teach your
students to despise.

The Administration had previously been willing to maintain federal funding to Harvard, so long
as Harvard committed to complying with long-settled Federal Law, including to protect and
promote student welfare and the landmark decision of our Supreme Court against racial
preferencing. The proposed common-sense reforms – which the Administration remains
committed to – include a return to merit-based admissions and hiring, an end to unlawful
programs that promote crude identity stereotypes, disciplinary reform and consistent
accountability, including for student groups, cooperation with Law Enforcement, and reporting
compliance with the Department of Education, Department of Homeland Security, and other
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Federal Agencies. The Administration’s priorities have not changed and today’s letter marks the
end of new grants for the University.

These requests will advance the best interests of Harvard University, so it can reclaim its status
as a respected educational institution for the future leaders of America. Thank you for your
attention to this matter!


                                              Sincerely,




                                              Linda E. McMahon
                                              Secretary of Education
